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               EXHIBIT 1
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                                                                                                               US009338171B2


  (12) United States Patent                                                                   (10) Patent No.:                US 9,338,171 B2
         Kiukkonen et al.                                                                     (45) Date of Patent:                      May 10, 2016
  (54) METHOD AND APPARATUS FOR                                                          (56)                   References Cited
         CONTROLLING ACCESS TO RESOURCES
                                                                                                         U.S. PATENT DOCUMENTS
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                   Janne Marin, Espoo (FI); Sverre Slotte,                                      7,263,076 B1     8, 2007   Leibovitz et al.
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  (72) Inventors: Niko Tapani Kiukkonen, Veikkola (FI);                                                            (Continued)
                  Janne Marin, Espoo (FI); Sverre Slotte,
                  Esbo (FI)                                                                           FOREIGN PATENT DOCUMENTS

  (73) Assignee: NOKIA CORPORATION, Espoo (FI)                                           WO              03/028313 A2        4/2003
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  (*) Notice:           Subject to any disclaimer, the term of this                                                (Continued)
                        patent is extended or adjusted under 35                                            OTHER PUBLICATIONS
                        U.S.C. 154(b) by 351 days.                                       Adnan Ahmad et al., “Distributed Access Control for Social Net
                                                                                         works', Conference Publication, 2011 7th International Conferences
  (21) Appl. No.: 13/720,439                                                             on Information Assurance and Security (IAS), pp. 68-73.
  (22) Filed:           Dec. 19, 2012                                                                            (Continued)
  (65)                      Prior Publication Data
                                                                                         Primary Examiner — Kambiz Zand
                                                                                         Assistant Examiner — Benjamin Kaplan
         US 2013/O174277 A1                 Jul. 4, 2013                                 (74) Attorney, Agent, or Firm — Ditthavong & Steiner, P.C.
                                                                                         (57)                     ABSTRACT
                   Related U.S. Application Data                                         An approach is provided for controlling access to resources
                                                                                         according to Social connections and/or characteristics of the
  (60) Provisional application No. 61/581,910, filed on Dec.                             resources. An access control platform determines one or more
         30, 2011.                                                                       resources associated with at least one user, at least one device
                                                                                         associated with the at least one user, or a combination thereof.
  (51) Int. Cl.                                                                          The access control platform further processes and/or facili
         H04L 29/06                     (2006.01)                                        tates a processing of social networking information associ
         H0474/08                       (2009.01)                                        ated with the at least one user, the at least one device, or a
  (52) U.S. Cl.                                                                          combination thereof to determine one or more Social net
         CPC ............... H04L 63/104 (2013.01); H04W 4/08                            working groups. The access control platform also causes, at
                                                                   (2013.01)             least in part, a controlling of access to the one or more
  (58) Field of Classification Search                                                    resources for one or more other users, one or more other
         CPC ..... H04L 63/104; HO4L 63/102: HO4W 4/08:                                  devices associated with the one or more other users, or a
                       G06F 21/10; G06F 21/31; G06F 21/6218                              combination thereof based, at least in part, on membership in
         USPC ............................................................ 726/28        the one or more social networking groups.
         See application file for complete search history.                                             17 Claims, 10 Drawing Sheets



                                                           DETERMINE ONE ORMORE RESOURCES
                                                          ASSOCATED WITHATLEASTONE USER, AT
                                                          LEASTONEDEVICE ASSOCATED WITH THE
                                                30         ATLEASTONE USER, ORACOMBINATION
                                                                       THEREOF

                                                              PROCESS SOCIALNETWORKING
                                                           INFORMATIONASSOCATED WITH THEAT
                                                             LEASTONE USER, THEATLEASTONE
                                                303        DEVICE, ORACOMBINATIONTHEREOFTO
                                                             DETERMINE ONE ORMORE SOCIAL
                                                                 NETWORKING GROUPS

                                                          CAUSEACONTROLLING OF ACCESS TO THE
                                                           ONE ORMORE RESOURCESFOR ONE OR
                                                            MORE OTHERUSERS ANDOR ONEOR
                                                          MOREOTHERDEVICES ASSOCATED WITH
                                                305       THE ONE ORMOR OTHER USERS BASED
                                                           ONMEMBERSHIPINTHE ONE ORMORE
                                                               SOCIALNETWORKING GROUPS
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                                   1.                                                                     2
            METHOD AND APPARATUS FOR                                         to determine one or more Social networking groups. The
         CONTROLLING ACCESS TO RESOURCES                                     apparatus is further caused to control access to the one or
                                                                             more resources for one or more other users, one or more other
                   RELATED APPLICATIONS                                      devices associated with the one or more other users, or a
                                                                             combination thereof based, at least in part, on membership in
     This application claims the benefit of the earlier filing date          the one or more social networking groups.
   under 35 U.S.C. S119(e) of U.S. Provisional Application Ser.                 According to another embodiment, a computer-readable
   No. 61/581,910 filed Dec. 30, 2011, entitled “Method and                  storage medium carries one or more sequences of one or more
   Apparatus for Controlling Access to Resources, the entirety               instructions which, when executed by one or more proces
   of which is incorporated herein by reference.                        10   sors, cause, at least in part, an apparatus to determine one or
                                                                             more resources associated with at least one user, at least one
                          BACKGROUND                                         device associated with the at least one user, or a combination
                                                                             thereof. The apparatus is also caused to process and/or facili
      Service providers and device manufacturers (e.g., wireless,            tate a processing of social networking information associated
   cellular, etc.) are continually challenged to deliver value and      15   with the at least one user, the at least one device, or a combi
   convenience to consumers by, for example, providing com                   nation thereof to determine one or more social networking
   pelling network services. One Such service includes sharing               groups. The apparatus is further caused to control access to
   resources among users. By way of example, a user may wish                 the one or more resources for one or more other users, one or
   to allow other users to access a resource. Such as a wireless             more other devices associated with the one or more other
   access point when the designated users are within range of the            users, or a combination thereof based, at least in part, on
   access point. Juxtaposed with the ability to enable users to              membership in the one or more social networking groups.
   share resources is the need to maintain security with respect to             According to another embodiment, an apparatus comprises
   the resources, and to enable sharing of the resources without             means for determining one or more resources associated with
   degradation of performance of the resources. By way of                    at least one user, at least one device associated with the at least
   example, a user that shares a wireless access point among            25   one user, or a combination thereof. The apparatus also com
   designated users may wish to maintain a certain level of                  prises means for processing and/or facilitating a processing of
   security and performance of the wireless access point.                    Social networking information associated with the at least one
   Although certain resources, such as wireless access points,               user, the at least one device, or a combination thereof to
   have built-in security features, the security features may make           determine one or more social networking groups. The appa
   sharing the resources complex. For example, to revoke the            30   ratus further comprises means for causing, at least in part, a
   permission of one user to access an access point, the security            controlling of access to the one or more resources for one or
   settings with respect to the access point must be accessed to             more other users, one or more other devices associated with
   change the security settings (e.g., password, revocation of a             the one or more other users, or a combination thereof based,
   MAC address, etc.). Unfortunately, there is currently no                  at least in part, on membership in the one or more Social
   method that controls the access users have to resources that is      35   networking groups.
   independent of controlling the resource settings directly to                 In addition, for various example embodiments of the inven
   maintain the security and performance of the resources.                   tion, the following is applicable: a method comprising facili
                                                                             tating a processing of and/or processing (1) data and/or (2)
               SOME EXAMPLE EMBODIMENTS                                      information and/or (3) at least one signal, the (1) data and/or
                                                                        40   (2) information and/or (3) at least one signal based, at least in
     Therefore, there is a need for an approach for controlling              part, on (or derived at least in part from) any one or any
   access to resources according to Social connections and/or                combination of methods (or processes) disclosed in this
   characteristics of the resources.                                         application as relevant to any embodiment of the invention.
     According to one embodiment, a method comprises deter                      For various example embodiments of the invention, the
   mining one or more resources associated with at least one            45   following is also applicable: a method comprising facilitating
   user, at least one device associated with the at least one user,          access to at least one interface configured to allow access to at
   or a combination thereof. The method also comprises pro                   least one service, the at least one service configured to per
   cessing and/or facilitating a processing of Social networking             form any one or any combination of network or service pro
   information associated with the at least one user, the at least           vider methods (or processes) disclosed in this application.
   one device, or a combination thereof to determine one or more        50      For various example embodiments of the invention, the
   Social networking groups. The method further comprises                    following is also applicable: a method comprising facilitating
   causing, at least in part, a controlling of access to the one or          creating and/or facilitating modifying (1) at least one device
   more resources for one or more other users, one or more other             user interface element and/or (2) at least one device user
   devices associated with the one or more other users, or a                 interface functionality, the (1) at least one device user inter
   combination thereof based, at least in part, on membership in        55   face element and/or (2) at least one device user interface
   the one or more social networking groups.                                 functionality based, at least in part, on data and/or informa
      According to another embodiment, an apparatus comprises                tion resulting from one or any combination of methods or
   at least one processor, and at least one memory including                 processes disclosed in this application as relevant to any
   computer program code for one or more computer programs,                  embodiment of the invention, and/or at least one signal result
   the at least one memory and the computer program code                60   ing from one or any combination of methods (or processes)
   configured to, with the at least one processor, cause, at least in        disclosed in this application as relevant to any embodiment of
   part, the apparatus to determine one or more resources asso               the invention.
   ciated with at least one user, at least one device associated                For various example embodiments of the invention, the
   with the at least one user, or a combination thereof. The                 following is also applicable: a method comprising creating
   apparatus is also caused to process and/or facilitate a process      65   and/or modifying (1) at least one device user interface ele
   ing of Social networking information associated with the at               ment and/or (2) at least one device user interface functional
   least one user, the at least one device, or a combination thereof         ity, the (1) at least one device user interface element and/or (2)
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                                                          US 9,338,171 B2
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   at least one device user interfacefunctionality based at least in           Although various embodiments are described with respect
   part on data and/or information resulting from one or any                to wireless access points as exemplary resources, it is con
   combination of methods (or processes) disclosed in this                  templated that the approach described herein may be used
   application as relevant to any embodiment of the invention,              with any other type of resource accessible over a network.
   and/or at least one signal resulting from one or any combina                FIG. 1 is a diagram of a system capable of controlling
   tion of methods (or processes) disclosed in this application as          access to resources according to Social connections and/or
   relevant to any embodiment of the invention.                             characteristics of the resources, according to one embodi
      In various example embodiments, the methods (or pro                   ment. As discussed above, service providers and device
   cesses) can be accomplished on the service provider side or              manufacturers are providing users with the ability to share
   on the mobile device side or in any shared way between
                                                                       10   resources among various users and devices. One Such
   service provider and mobile device with actions being per                resource may be a wireless access point. Wireless access
   formed on both sides.                                                    points allow an owner (e.g., host user) of the wireless access
      For various example embodiments, the following is appli               point to share a wireless connection to, for example, the
   cable: An apparatus comprising means for performing the                  Internet with other users. As the popularity of wireless access
                                                                       15   points and devices compatible with accessing the access
   method of any of claims.                                                 points has increased, most of the access points are password
      Still other aspects, features, and advantages of the inven            protected. The password protection is used to prevent unau
   tion are readily apparent from the following detailed descrip            thorized people from connecting through the access point to,
   tion, simply by illustrating a number of particular embodi               for example, the Internet or to other resources on a network
   ments and implementations, including the best mode                       without permission. The password protection is also used to
   contemplated for carrying out the invention. The invention is            prevent unauthorized users from accessing the access point
   also capable of other and different embodiments, and its                 and eavesdropping on communications associated with
   several details can be modified in various obvious respects, all         another user connected to the access point. Indeed, in some
   without departing from the spirit and scope of the invention.            countries, such as Germany, there are legal obligations for
   Accordingly, the drawings and description are to be regarded        25   owners of access points to protect and monitor the Internet
   as illustrative in nature, and not as restrictive.                       access provided through access points they own. Thus,
                                                                            although security associated with access points is needed, it
           BRIEF DESCRIPTION OF THE DRAWINGS                                makes sharing the access point between family members,
                                                                            friends, and other users complex.
      The embodiments of the invention are illustrated by way of       30      For example, a password for accessing the access point
   example, and not by way of limitation, in the figures of the             must be distributed among all of the users that are authorized
   accompanying drawings:                                                   to access the access point. In which case, to prevent a previ
      FIG. 1 is a diagram of a system capable of controlling                ously authorized user from accessing the access point, a new
   access to resources, according to one embodiment;                        password must be created and distributed to the other autho
      FIG. 2 is a diagram of the components of an access control       35   rized users. Alternatively, other even more complex processes
   platform, according to one embodiment;                                   may be used to prevent a previously authorized user from
      FIG. 3 is a flowchart of a process for controlling access to          accessing the access point beyond merely changing the pass
   resources, according to one embodiment;                                  word. Further, beyond preventing unauthorized users from
      FIG. 4 is a flowchart of a process for controlling access to          accessing an access point, issues concerning eavesdropping
   resources according to social connections and/or characteris        40   among authorized users may exist, or issues concerning deg
   tics of the resources, according to one embodiment;                      radation of services based on, for example, the number of
      FIG. 5 is a flowchart of a process for eliminating access             users associated with an access point may exist. Exacerbating
   rights to one or more resources, according to one embodi                 these issues are issues relating to the difficulties in controlling
   ment,                                                                    the access points directly through, for example, the configu
     FIGS. 6A-6D are diagrams of user interfaces utilized in the       45   ration settings associated with the access point. For example,
   processes of FIGS. 3-5, according to various embodiments;                the configuration settings of the access point must be acces
     FIG. 7 is a diagram of hardware that can be used to imple              sible otherwise the settings cannot be changed. Further,
   ment an embodiment of the invention;                                     changing the settings is only a static way of controlling access
     FIG. 8 is a diagram of a chip set that can be used to                  to an access point is not as dynamic as the dynamic changing
   implement an embodiment of the invention; and                       50   of users accessing the access point. Similar issues concern
     FIG.9 is a diagram of a mobile terminal (e.g., handset) that           other types of resources, such as database accessible over a
   can be used to implement an embodiment of the invention.                 network.
                                                                              To address these problems, a system 100 of FIG. 1 intro
           DESCRIPTION OF SOME EMBODIMENTS                                  duces the capability to control access to resources according
                                                                       55   to social connections associated with the host of the resources
      Examples of a method, apparatus, and computer program                 and/or characteristics of the resources. Depending on the
   for controlling access to resources according to Social con              Social connections associated with other users and/or other
   nections and/or characteristics of the resources are disclosed.          devices associated with the other users as compared to the
   In the following description, for the purposes of explanation,           host user of the resources, the system 100 revokes or prevents
   numerous specific details are set forth in order to provide a       60   access to the resources by the other users and/or the other
   thorough understanding of the embodiments of the invention.              devices. Further, depending on one or more characteristics
   It is apparent, however, to one skilled in the art that the              associated with the one or more resources, such as, for
   embodiments of the invention may be practiced without these              example, a number of users accessing the one or more
   specific details or with an equivalent arrangement. In other             resources, a traffic load associated with the one or more
   instances, well-known structures and devices are shown in           65   resources, or a combination thereof, the system 100 revokes
   block diagram form in order to avoid unnecessarily obscuring             or prevents access to the resources by the other users and/or
   the embodiments of the invention.                                        the other devices to maintain a quality of service provided by
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   the one or more resources. The system 100 also introduces the          tion network 105. Rather, the UE 101 may connect to the
   capability to control the security and performance of                  resources 115 through the communication network 105.
   resources independently from directly controlling the con                 In one embodiment, the access control platform 103 may
   figuration of the resources by remotely controlling access to          be associated with, or connected to, a profiles database 117.
   the resources at the device level.                                     The profiles database 117 may include access information
     The system 100 introduces the capability to determine one            associated with the resources 115, as well as access informa
   or more resources associated with a user, a device associated          tion associated with the UE 101. By way of example, the
   with the user, or a combination thereof. In one embodiment,            profiles database 117 may include security credentials for
   the user or the device associated with the user may be con             accessing one or more of the resources 115. The profiles
   sidered a host and a host device. In one embodiment, the user
                                                                     10   database 117 may also include information regarding the
   may be considered the owner of the resource, and the device            Social networking groups, and the association of one or more
   may be considered the resource (e.g., a wireless router). Fur          other users with respect to the Social networking groups,
                                                                          associated with a host user of one or more resources 115 that
   ther, the system 100 introduces the capability to process              are used to determine accessibility to the one or more
   Social networking information associated with the user, the       15   resources 115.
   device associated with the user, or the combination thereof to            The system 100 further includes a services platform 107
   determine one or more social networking groups. The Social             that includes one or more services 109a–109m (collectively
   networking groups define other users and their associations            referred to as services 109). The one or more services 109
   with the host user that owns and/or controls the one or more           may include, for example, one or more social networking
   resources. By way of example, the Social networking groups             services (SNS) 109a (e.g., Facebook, MySpace, Linkedin,
   may include family members, friends, friends of friends,               etc.). The system 100 further includes one or more content
   acquaintances, etc. Each of these groups may be further seg            providers 113a-113m (collectively referred to as content pro
   mented into Smaller groups, such as immediate family mem               viders 113). The content providers 113 may provide content
   bers, distant family members, close friends, long-lost friends,        to any component of the system 100.
   etc. The system 100 further introduces the capability to con      25     In one embodiment, the host user associated with one or
   trol access to the one or more resources for the other users,          more resources 115 adds the one or more resources to the
   other devices associated with the other users, or a combina            access control platform 103 by uploading the security creden
   tion there based on a membership in the one or more Social             tials associated with the one or more resources 115, along
   networking groups. For example, the control may be based on            with identification information associated with the resources
   the Social connections between the users that are accessing       30   115. The host user may also associate a hierarchy of groups of
   the resources and the host user of the resources based on, for         users that may access the one or more resources 115. The
   example, the users’ memberships in the one or more social              hierarchy may be based on, for example, the social distances
   networking groups. The control may also be based on one or             one or more other users have with the host user. Such social
   more characteristics associated with a resource. By way of             distances may be defined by, for example, the relationship the
   example, for a wireless access point, the characteristics may     35   other users have with the host user. By way of example, the
   be the current load on the wireless access point such that the         host user may specify that users associated with the Social
   access of one or more users at the wireless access point is            networking groups of family, friends, friends of friends, and
   revoked to lessen the load.                                            others may access one or more resources 115. The host user
     As shown in FIG. 1, the system 100 comprises one or more             may further specify that family has priority over friends,
   user equipment (UE) 101a-101 n (collectively referred to as       40   friends have priority over friends of friends, and friends of
   UE 101) having connectivity to an access control platform              friends have priority over other users. Accordingly, the access
   103 via a communication network 105. The access control                control platform 103 will provide users that are associated
   platform 103 controls access to one or more resources 115              with the host user according to the Social networking groups
   within the system 100 according to social connections and/or           with the security credentials to access to the one or more
   characteristics of the resources 115. The UE 101 may execute      45   resources 115. The host user may also add information asso
   one or more applications 111a-111n (collectively referred to           ciated with one or more devices associated with the host user
   as applications 111). The applications may include, for                to create another class of devices that may access the one or
   example, one or more Internet browsing applications, navi              more resources 115. Such as the group host user devices.
   gational applications, calendar applications, etc. In one                 Accordingly, the access control platform 103 may control
   embodiment, the UE101 may include an access control client        50   access to one or more resources 115 by one or more other
   application 111 a that communicates with the access control            users and/or one or more other devices associated with the
   platform 103. The access control platform 103 may then                 other users, based on the Social networking groups. The
   remotely configure and manage the connectivity options of              access may be controlled by revoking and/or preventing
   the UE 101 through the access control client application 111a          access to the one or more resources for one or more other
   for accessing one or more resources. The access control client    55   users, one or more other devices, or a combination thereof
   application 111a may also report status and/or measurement             based on the priority hierarchy. By way of example, if a user
   data to the access control platform 103 for the access control         that is classified within the Social networking group of family
   platform 103 to control the access by the UE 101 to the                is currently accessing a resource 115a, if another user that is
   resources 115. As illustrated, the UE 101 may connect                  classified within the Social networking group of friends
   directly to the communication network 105, or may connect         60   attempt to access the same resource 115a, the user may be
   to the communication network 105 through, for example, one             prevented from accessing the resource 115a based on a user
   or more resources 115a-115n (collectively referred to as               of a higher priority currently user the resource 115a. Further,
   resources 115). Resources 115 that allow for one or more UE            if the friend user has access to the resource and a family user
   101 to connect to the communication network 105 may                    accesses the resource 115a, the friend user may have their
   include, for example, a wireless access point. In one embodi      65   access revoked. The access of the friend is revoked to ensure
   ment, one or more resources 115 may be a part of the system            security of the family user using the resource 115a. As such,
   100 independent from providing access to the communica                 lower-priority users, and devices associated with lower-pri
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   ority users have their access to the resources 115 revoked or              Under this approach, the access control platform 103 is able
   barred based on access to the resources 115 by higher-priority             to readily cross reference requesting users of UE 101 against
   users based on the Social networking groups.                               one or more groups specified by the host user to access the
      In one embodiment, the host user may also specify char                  resources 115.
   acteristics associated with the one or more resources for the                 The host user enters information regarding the Social net
   access control platform 103 to monitor and control access by               working information related to the host user, Such as a login
   one or more other users and/or one or more other devices                   name or other identifier. The access control platform 103
   based on the characteristics. The characteristics may consist              utilizes the Social networking information as entered to
   of for example, performance characteristics. By way of                     authenticate the user against the SNS 109a. The authentica
   example where the one or more resources 115 include access            10   tion process may include determining an ability of the user
   points, the performance characteristics may include a number               device to actually login and access the host’s SNS profile
   of users accessing the one or more wireless access points, a               page based on the provided social networking information. In
   traffic load associated with the one or more access points, or             addition, the authentication process may include monitoring
   a combination thereof. Accordingly, the access control plat                of the status of the current contacts lists (e.g., in the case of a
   form 103 may control access to one or more access points by           15   private wireless access point), members of a group, fans of a
   one or more other users and/or one or more other devices                   page, or users who associated with the host. By monitoring
   associated with the other users based on the Social networking             the list of members indicated as friends as well as group
   groups and the resource characteristics to maintain a certain              affiliation with the host, the access control platform 103 is
   level of the characteristics. As the characteristics of the                able to associate users and user devices with resources 115
   resources change Such that the characteristics satisfy or no               accordingly.
   longer satisfy one or more thresholds established by the host                 Furthermore, the access control platform 103 determines
   user of the resources 115, access to the resources 115 by one              what access rights are made available to the one or more
   or more lower-priority users is revoked prior to one or more               members of an associated group. Access rights may be based
   higher-priority users to have the characteristics again satisfy            on, for example, whether a relationship identifier is family,
   the thresholds.                                                       25   friend, friend of a friend, acquaintance, other, etc. In other
     In one embodiment, the access control platform 103 inter                 instances, the indicator may relate to Some other level of
   acts with a service such as a SNS, a customer resource man                 closeness, familiarity or priority of the host relative to the
   agement service, a directory service, or any other service for             member. It is noted that the host user of the resource may be
   determining and maintaining data regarding one or more                     an individual person, a group, a company or organization, a
   users (e.g., contacts) associated with a host user. By way of         30   website, etc.
   example, a SNS 113a maintains a listing of various members,                  When the access rights are confirmed, the access control
   social networking group affiliations of said members, or a                 platform 103 then provisions the one or more users of UE 101
   combination thereofas related to the host user. Each member                with access credentials associated with the one or more
   of the SNS 109a registers with the SNS 109a by creating a                  resources 115. The provisioning is done utilizing existing
   profile for specifying personal details, interests, information       35   mechanisms implemented in the mobile devices for remotely
   sharing restrictions, marketing preferences, etc. In addition,             managing and configuring the resources 115. For example,
   the members are assigned or create a user name, a login                    the access credentials may be pushed to UE 101 by way of a
   password, a security question and the like as access creden                push service, synchronized at the UE 101 via a synchroniza
   tials for the SNS 109a.                                                    tion service with the access control platform 103, etc. It is
      Still further, the host user may be associated with other          40   noted that provisioning of the credentials enables the UE 101
   members via group affiliation, i.e., a group comprising one or             to access the one or more resources 115 when a request for
   more other members of the SNS 109a. For example, a group                   access to the resources 115 is made.
   entitled the “Wisconsin Badgers' may be formed at the SNS                     In one embodiment, the access control platform 103
   109a for supporting the sharing of information between                     includes an additional security feature for preventing a mali
   members based on their common interests. In this example,             45   cious or unauthorized user from tampering with the access
   the host user may interact exclusively with members of this                control client application 111a that interfaces with the access
   group to engage in discussions regarding activities associated             control platform 103 for accessing one or more resources 115.
   with the Wisconsin Badgers. Similarly, other interest groups               Such a malicious user may obtain the security credentials for
   may also be associated with the host user, where the partici               accessing a resource 115a and disable the access control
   pating other members represent a portion of the entire list of        50   client application 111a effectively enabling the user to use the
   members associated with the host. Alternatively, a group may               resources 115 even if not intended by the host of the resources
   also include the overall list of members (contacts) associated             115. To implement this additional security, the access control
   with the specific profile of the host user. It is noted, therefore,        platform 103 monitors UE 101 accessing the one or more
   that a group may include an overall/global listing of all mem              resources 115 to ensure that the UE 101 are accessing the
   bers associated with the host or a sub-grouping of members            55   resources 115 according to the established hierarchies and/or
   representing only a portion of the overall/global listing.                 the characteristics of the resources 115. By way of example,
      The host user communicates with and recognizes various                  the access control platform 103 will monitor for UE 101
   other members of the SNS 109a by way of social networking                  accessing an access point and determine whether the UE 101
   information, including a username, alias, group reference,                 has actual authority to access the access point according to the
   user reference, icon or other identifier. It is noted that the        60   hierarchy of the UE 101 as compared to other UE 101 cur
   Social networking information includes that which is speci                 rently accessing the access point. If the access control plat
   fied by the host regarding the one or more other members, that             form 103 determines that unauthorized UE 101 are accessing
   which is specified by the one or more other members relative               the resources 115, the access control platform 103 may cause
   to the host, or a combination thereof.                                     the UE 101 to eliminate access rights to the one or more
      In certain embodiments, the access control platform 103            65     SOUCS.
   relies upon the SNS 109a to verify and/or authenticate a user                By way of example, the communication network 105 of
   and/or UE 101 as belonging to a social networking group.                   system 100 includes one or more networks such as a data
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   network, a wireless network, a telephony network, or any                 the OSI Reference Model. The header for a particular proto
   combination thereof. It is contemplated that the data network            col typically indicates a type for the next protocol contained
   may be any local area network (LAN), metropolitan area                   in its payload. The higher layer protocol is said to be encap
   network (MAN), wide area network (WAN), a public data                    sulated in the lower layer protocol. The headers included in a
   network (e.g., the Internet), short range wireless network, or      5    packet traversing multiple heterogeneous networks, such as
   any other Suitable packet-switched network, Such as a com                the Internet, typically include a physical (layer 1) header, a
   mercially owned, proprietary packet-switched network, e.g.,              data-link (layer 2) header, an internetwork (layer 3) header
   a proprietary cable or fiber-optic network, and the like, or any         and a transport (layer 4) header, and various application (layer
   combination thereof. In addition, the wireless network may               5, layer 6 and layer 7) headers as defined by the OSI Refer
   be, for example, a cellular network and may employ various          10   ence Model.
   technologies including enhanced data rates for global evolu                FIG. 2 is a diagram of the components of an access control
   tion (EDGE), general packet radio service (GPRS), global                 platform 103, according to one embodiment. By way of
   system for mobile communications (GSM), Internet protocol                example, the access control platform 103 includes one or
   multimedia subsystem (IMS), universal mobile telecommu                   more components for controlling access to resources. It is
   nications system (UMTS), etc., as well as any other suitable        15   contemplated that the functions of these components may be
   wireless medium, e.g., worldwide interoperability for micro              combined in one or more components or performed by other
   wave access (WiMAX), Long Term Evolution (LTE) net                       components of equivalent functionality. In this embodiment,
   works, code division multiple access (CDMA), wideband                    the access control platform 103 includes a resource module
   code division multiple access (WCDMA), wireless fidelity                 201, a user module 203, a social networking module 205, an
   (WiFi), wireless LAN (WLAN), Bluetooth R, near field com                 access module 207, a security module 209 and a user interface
   munication (NFC), Internet Protocol (IP) data casting, digital           (UI) module 211.
   radio/television broadcasting, satellite, mobile ad-hoc net                The resource module 201 registers and identifies the
   work (MANET), and the like, or any combination thereof.                  resources 115 that are recognized by the access control plat
      The UE 101 is any type of mobile terminal, fixed terminal,            form 103 and that the access control platform 103 provides
   orportable terminal including a mobile handset, station, unit,      25   access control over. The UI module 211 creates one or more
   device, mobile communication device, multimedia computer,                user interfaces for users that own or control resources (e.g.,
   multimedia tablet, Internet node, communicator, desktop                  host users) to interface with the resource module 201 to input
   computer, laptop computer, notebook computer, netbook                    information associated with the resources 115. The informa
   computer, tablet computer, personal communication system                 tion may include, for example, some type of identification of
   (PCS) device, personal navigation device, personal digital          30   the resources 115, such as a uniform resource indicator
   assistants (PDAs), audio/video player, digital camera?cam                (URI), a uniform resource locator (URL), an Internet protocol
   corder, positioning device, television receiver, radio broad             (IP) address, etc. The information may also include the secu
   cast receiver, electronic book device, game device, or any               rity credentials associated with accessing the resources 115,
   combination thereof, including the accessories and peripher              Such as passwords, secret keys, an encryption key, etc. In one
   als of these devices, or any combination thereof. It is also        35   embodiment, the resource module 201 may interface with the
   contemplated that the UE 101 can support any type of inter               profiles database 117 for generating one or more profiles
   face to the user (such as “wearable' circuitry, etc.).                   associated with the resources 115 based on the information
      By way of example, the UE 101, the access control plat                inputted regarding the resources 115. In Such an embodiment,
   form 103, the services platform 107, the content providers               the resource module 201 may access the profiles database 117
   113, and the resources 115 communicate with each other and          40   for the information for the resources 115.
   other components of the communication network 105 using                     The user module 203 registers and identifies the users
   well known, new or still developing protocols. In this context,          and/or user devices that are recognized by the access control
   a protocol includes a set of rules defining how the network              platform 103 and that are controlled in providing access to
   nodes within the communication network 105 interact with                 one or more resources 115. The user module 203 may also
   each other based on information sent over the communication         45   register and identify the users and/or the devices associated
   links. The protocols are effective at different layers of opera          with the users that own and/or host the resources 115. The
   tion within each node, from generating and receiving physical            user module 203 may associate the host users and the host
   signals of various types, to selecting a link for transferring           devices with the resources 115 that the host users and/or the
   those signals, to the format of information indicated by those           host devices own and/or control. In one embodiment, the UI
   signals, to identifying which Software application executing        50   module 211 creates one or more user interfaces for the host
   on a computer system sends or receives the information. The              users to interface with the user module 203 to input informa
   conceptually different layers of protocols for exchanging                tion associated with one or more users and/or devices that
   information over a network are described in the Open Sys                 have authority to access one or more resources 115. The host
   tems Interconnection (OSI) Reference Model.                              users may also input information associated with the Social
      Communications between the network nodes are typically           55   networking groups the users are associated with, such as
   effected by exchanging discrete packets of data. Each packet             family, friends, friends of friends, and others. Thus, in one
   typically comprises (1) header information associated with a             embodiment, the host user of a resource 115a may manually
   particular protocol, and (2) payload information that follows            enter information into the user module 203 regarding the
   the header information and contains information that may be              users and/or devices that may access a resource. In one
   processed independently of that particular protocol. In some        60   embodiment, the user module 203 may interface with the
   protocols, the packet includes (3) trailer information follow            profiles database 117 for generating one or more profiles with
   ing the payload and indicating the end of the payload infor              respect to users and/or devices that are registered with the
   mation. The header includes information Such as the Source of            access control platform 103 as both host users that own or
   the packet, its destination, the length of the payload, and other        control one or more resources and other users and/or other
   properties used by the protocol. Often, the data in the payload     65   devices that may access one or more resources. In Such an
   for the particular protocol includes a header and payload for            embodiment, the resource module 201 may access the pro
   a different protocol associated with a different, higher layer of        files database 117 for the information for the resources 115.
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     In one embodiment, the social networking module 205                     accessing the resources 115. By way of example, a resource
   may access one or more services 109 and/or content providers              115a may have a characteristic associated with the number of
   113 for automatically determining social networking infor                 devices that may be connected to the resource 115a at the
   mation with respect to a host user and one or more other users            same time. A UE 101 attempting to connect to the resource
   and/or other devices. The social networking module 205 may                115a may cause the number of devices connected to the
   interface with the user module 203 and or the resource mod                resource 115a to exceed the threshold number of devices. In
   ule 201 to determine a host user and/or a device associated               which case, the access module 207 will prevent the UE 101
   with a host user. Further, the social networking module 205               from accessing the resource 115a. The access module 207
   may then search various services 109, such as social network              will also monitor the characteristics associated with the
   ing services 109a, and content providers 113 for other users         10   resources 115 independently from merely monitoring users
   and/or other devices associated with the users and the social             and/or UE 101 attempting to access the resources 115 and will
   connections of the other users and/or other devices with                  control access to the resources based on the monitored char
   respect to the host user. Included within the Social connec               acteristics. By way of example, the access module 207 may
   tions is information pertaining to the type of connection, Such           monitor the bandwidth associated with a resource 115a (e.g.,
   as, for example, family, friend, friend of friend, and other, that   15   wireless access point). When the bandwidth exceeds a thresh
   may be used to classify the other user and/or other device into           old, such that the quality of service provided by the resource
   a hierarchy established by a host user for a resource 115a. The           115a drops below acceptable levels, the access module 207
   information that the social networking module 205 deter                   may act to revoke access to the resource 115a to one or more
   mines may be included in one or more resource profiles                    UE 101 currently accessing the resource 115a. Access to the
   and/or one or more user profiles stored within the profiles               resource 115a is revoked, for example, to adjust the band
   database 117, as described above.                                         width of the resource 115a to acceptable levels. The access
     The access module 207 controls the access of one or more                module 207 may revoke access to the resource 115a accord
   devices to the resources 115. The access module 207 monitors              ing to the hierarchy of users and/or UE 101 currently access
   the users and/or user devices that are currently accessing the            ing the resource 115a, such that lower-priority user and/or
   resources 115 and that are attempting to access the resources        25   lower-priority devices have their access revoked prior to
   115. Based on whether the control of the resources 115 is                 higher-priority users and higher-priority devices.
   based on a hierarchy of users, the characteristics of the                    In one embodiment, the security module 209 prevents
   resources 115, or both, the access module 207 revokes or                  malicious or unauthorized users from tampering with the
   prevents users and/or user devices from accessing the                     access control client application 111a that interfaces with the
   resources 115. In one embodiment, the access module 207              30   access control platform 103 for accessing one or more
   interfaces with the access control client applications 111a               resources 115. The security module 209 monitors UE 101
   running on the UE 101 to monitor whether the UE 101 are                   accessing the resources 115 to ensure that the UE 101 are
   currently accessing one or more resources 115 or attempting               accessing the resources 115 according to the established hier
   to access one or more resources 115. When a UE 101 or a user              archies and/or the characteristics of the resources 115. The
   associated with a UE 101 attempts to access a resource 115a,         35   security module 209 may interface with the access control
   the access module 207 will determine the priority of the user             client application 111a executed at the UE 101, or may inter
   and/or the UE 101 and will determine the priority of other                face with, for example, a secondary application 111b
   users and/or UE 101 currently accessing the resource 115a to              executed at the UE 101 that acts as a backup security appli
   determine whether the user or UE 101 attempting to access                 cation that monitors for the expected communications
   the resource 115a has the priority to access the resource 115a.      40   between the access control client application 111a and the
   When the access module 207 is monitoring users and/or                     access control platform 103 when a UE 101 attempts to access
   devices accessing the resource 115a, the user or the UE 101               a resource 115a. If the expected communications do not
   will have the priority to access the resource 115a when the               occur, Such as the access control client application 111a not
   user or the UE101 has a priority that is equal to or greater than         communicating with the access control platform 103 to deter
   the other users and/or UE 101 currently accessing the                45   mine the priority of the UE 101 accessing the resource, or to
   resource 115a. Upon the user or the UE 101 accessing the                  determine the characteristics of the resource 115a, the secu
   resource 115a, the access module 207 further determines                   rity module 209 may eliminate the security credentials at the
   whether other users or UE 101 currently accessing the                     UE 101 to prevent the UE 101 from accessing the resource
   resource have a priority that is lower than the new user or the           115a. The elimination of the security credentials is different
   new UE 101 to the resource 115a. If there is a user or a UE 101      50   than the revocation of access because the revocation of access
   that is accessing the resource 115a that has a lower priority,            is temporary based on, for example, the priority of users
   the access module 207 will interface with the access control              accessing a resource 115a or the characteristics of the
   client application 111a of the lower-priority users or the                resources 115. The elimination of the security credentials is
   lower-priority UE 101 to revoke the access to the resource                permanent such that the UE 101 no longer has the security
   115a. The access to the resource is revoked until the higher         55   credentials (e.g., password, security key, etc.) that are neces
   priority users and/or higher-priority UE 101 no longer are                sary to access the resource 115a. Thus, the security module
   accessing the resource 115a. In which case, the lower-priority            prevents malicious users from bypassing the access control
   user and/or lower-priority UE 101 may again access the                    platform 103 and/or the access control client application 111a
   resource 115a.                                                            to access one or more resources 115 without permission.
     When the access control platform 103 controls access to            60      FIG. 3 is a flowchart of a process for controlling access to
   resources 115 based on the characteristics of the resources               resources, according to one embodiment. In one embodi
   115, the access module 207 determines the characteristics of              ment, the access control platform 103 performs the process
   the resources 115 when one or more users and/or UE 101                    300 and is implemented in, for instance, a chip set including
   attempt to access the resources 115. If the one or more char              a processor and a memory as shown in FIG.8. In step 301, the
   acteristics of the resources 115 do not satisfy one or more          65   access control platform 103 determines one or more
   thresholds associated with the characteristics, the access                resources associated with at least one user, at least one device
   module 207 prevents the users and/or the UE 101 from                      associated with the at least one user, or a combination thereof.
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   The at least one user may be a user that owns or controls the           control platform 103 communicates with the access control
   one or more resources 115 (e.g., a host user). The at least one         client applications 111a when determining whether to pre
   device may be one or more devices that are associated with              vent or revoke access to one or more devices to the resources
   the host user. The one or more resources may be resources 115           115. By remotely access the UE 101 based on the access
   that are accessible by the host user/host device, as well as            control client applications 111a, the access control platform
   other users and/or other devices associated with the host user.         103 can provide control over the resources 115 without
   By way of example, one or more resources may include                    directly controlling the configuration settings of the resources
   wireless access points that provide access to one or more               115.
   networks to devices that connect to the wireless access point.            In one embodiment, the access control platform 103 may
      In step 303, the access control platform 103 processes          10   be configured to cause a device that has had its access to a
   Social networking information associated with the at least one          resource 115a revoked to access one or more other resources
   user (e.g., host user), the at least one device associated with         115. By way of example, a UE 101 a may be currently access
   the at least one user (e.g., host user's device), or a combina          ing a wireless access point. Upon a higher-priority user
   tion thereof to determine one or more social networking                 accessing the wireless access point, the access to the wireless
   groups. The one or more Social networking groups define            15   access point for the UE 101 a may be revoked. Accordingly,
   social connections between the host user and/or the host                the UE 101 may be automatically connected to a cellular
   device and other users and/or other devices. The social con             network in response to the access to the wireless access point
   nections may be based on a hierarchy of social distances, such          being revoked. In such a case, where the UE 101 was access
   as the relationship of the host user to other specific users. As        ing the wireless access point for access to, for example, the
   discussed above, the Social distances that define the Social            Internet, the UE 101 may still connect to the Internet after
   networking groups may be, for example, family, friends,                 having the access revoked but instead through the cellular
   friends of friends, and others. Although the provided example           network.
   includes four social networking groups, the number of social               FIG. 4 is a flowchart of a process for controlling access to
   networking groups is practically unlimited. Further, each               resources according to social connections and/or characteris
   Social networking group may be broken down into Smaller            25   tics of the resources, according to one embodiment. In one
   groups, such as immediate family and distant relatives for the          embodiment, the access control platform 103 performs the
   Social networking group of family, and close friends and                process 400 and is implemented in, for instance, a chip set
   distant friends for the group of friends.                               including a processor and a memory as shown in FIG. 8. In
      The Social networking information may be provided                    step 401, the access control platform 103 determines a prior
   directly to the access control platform 103 by the host user       30   ity hierarchy associated with the host user, the host device, the
   through one or more user interfaces created by the access               one or more Social networking groups, or a combination
   control platform 103. By way of example, the host user may              thereof. The priority hierarchy determines what social net
   select one or more social networking groups defined by the              working groups have priority over other Social networking
   access control platform 103 when registering a resource 115a            groups. The priority hierarchy may also determine what pri
   at the access control platform 103. Further, the host user may     35   ority the host user or the host device has over the social
   provide access credentials to one or more social information            networking groups. By way of example, the hierarchy may be
   providers that the access control platform 103 may access to            based on giving the host user and the host user's device the
   retrieve the social information. The social information pro             highest priority over all other users and other devices. Next,
   viders may include one or more services 109, such as social             other users and other devices that have membership in the
   networking services 109a, and one or more content providers        40   family Social networking group may have priority over all
   113. Thus, the access control platform 103 may access the               other users and other devices. Further, other users and other
   Social information providers to obtain the Social information           devices that have membership in the friends social network
   and process the Social information to determine the Social              ing group may have priority over all other users and other
   networking groups.                                                      devices, and so forth until the Social networking groups have
      In step 305, the access control platform 103 causes a con       45   been assigned priority according to the priority hierarchy.
   trolling of access to the one or more resources for one or more           Next, in step 403, the access control platform 103 deter
   other users, one or more other devices associated with the one          mines whether to monitor resources 115 based on the users
   or more other users, or a combination thereof based on mem              associated with the resources 115 and/or the characteristics
   bership in the one or more Social networking groups. The                associated with the resources 115. In one embodiment, the
   access control platform 103 controls the access indepen            50   access control platform 103 monitors the users or the charac
   dently from controlling the configuration settings associated           teristics associated with a resource 115a. In one embodiment,
   with the one or more resources. Rather, the access control              the access control platform 103 may monitor both the users
   platform 103 controls the access remotely at a device level of          and the characteristics associated with a resource 115a. If the
   the devices and/or users attempting to access or currently              access control platform 103 monitors the users and/or devices
   accessing the one or resources 115. The access control plat        55   associated with a resource 115a, the process 400 proceeds to
   form 103 remotely configures and manages the one or more                step 405. If the access control platform 103 monitors the
   other devices attempting to access or currently accessing the           characteristics associated with a resource, the process 400
   one or more resources based on the membership in the Social             proceeds to step 407. If the access control platform 103 moni
   networking groups. As discussed in more detail below, the               tors both the users and/or devices associated with a resource
   control may be based on prioritizing users and/or devices that     60   115a and the characteristics associated with a resource 115a,
   have access to the resources based on the hierarchy of social           the process 400 concurrently proceeds to steps 405 and 407.
   networking groups. The control may also be based on one or                 In step 405, the access control platform 103 causes a revo
   more characteristics associated with the one or more                    cation, a prevention, or a combination thereof of access by
   resources. In one embodiment, the remote control is based on            one or more users, one or more devices, or a combination
   the access control platform 103 interfacing with the access        65   thereof to one or more resources 115 based, at least in part, on
   control client applications 111a on the various user devices            the priority hierarchy determined in step 401. The access
   (e.g., UE 101) that access the resources 115. The access                control platform 103 controls the revocation and/or the pre
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   vention of the access to ensure the Security of the one or more       access control platform 103 will revoke or prevent access to
   resources 115 by controlling the users and/or devices that            the resource 115a to avoid combining two combinations of
   may access the resources 115 at any given. The revocation             Social networking groups.
   and the prevention of access to the one or more resources may            Accordingly, by controlling the revocation and prevention
   be based on limiting lower-priority users and lower-priority       5 of access to resources 115 based on the priority hierarchy of
   devices from using the resources 115 while higher-priority            one or more users and/or one or more devices, host users that
   users and higher-priority devices use the resources 115. Thus,        own or maintain one or more resources may open the
   higher-priority users and higher-priority devices may use the         resources to a wider range of users while maintaining a level
   resources 115 while ensuring that, for example, lower-prior           of security for more trusted users, or users that have a closer
                                                                      10 Social relationship to the host user.
   ity users and lower-priority devices do not comprise the Secu            In step 407, the access control platform 103 determines to
   rity of the resources 115 by, for example, eavesdropping on           control one or more resources 115 according to the charac
   the higher-priority users.                                            teristics of the one or more resources 115. Accordingly, the
      By way of example, if a higher-priority user is currently          access control platform 103 causes a controlling of the access
   accessing a resource 115a, the access control platform 103         15 to the one or more resources 115 based, at least in part, on one
   may prevent access by a lower-priority user to the resource             or more characteristics associated with the one or more
   115a to maintain the security level of the resource 115a for            resources 115. As discussed above, the characteristics may
   the higher-priority user. Further, if a lower-priority user is          include, for example, a number of users associated with a
   currently accessing a resource 115a when a higher-priority              resource 115a, performance characteristics associated with a
   user attempts to access the resource 115a, the access control      20 resource 115a, etc. Where the resource 115a is a wireless
   platform 103 may revoke the access by the lower-priority user         access point, one of the performance characteristics may be
   to the resource 115a to ensure a secure session by the higher           the bandwidth associated with the resource 115a. The access
   priority user using the resource 115a. In one embodiment, the           control platform 103 may control the access of one or more
   access control platform 103 controls the revocation and pre             users and/or one or more devices to the resource 115a to
   vention by interfacing with the access control client applica-     25   control the characteristics associated with the resource 115a.
   tions 111a associated with the devices of the users accessing           For example, if a characteristic is a number of users currently
   and attempting to access the resources 115. The access con              accessing a resource 115a, the access control platform 103
   trol platform 103 instructs the access control client applica           may prevent additional users from accessing the resource
   tions 111a to prevent access to a resource 115a by a lower              115a. Further, if a characteristic is the bandwidth of a
   priority userifa higher-priority user is currently accessing the   30 resource 115a, the access control platform 103 may revoke
   resource 115a. Similarly, the access control platform 103             the access by one or more users to the resource 115a to lessen
   instructs the access control client applications 111a to revoke         the bandwidth.
   access to a resource 115a by a lower-priority user if a higher        In step 409, the access control platform 103 causes a revo
   priority user is attempting to access the resource 115a. In one    cation, a prevention, or a combination thereof of the access to
   embodiment, the access control platform 103 controls the        35 one or more resources based, at least in part, on the priority
   revocation and prevention of the access based on agranularity      hierarchy of the users and the devices. For example, where a
   of the hierarchy, but ignores finer granularity of the hierar      lower-priority user attempting to access a resource 115a
   chies; such as allowing close friends and distant friends of the   would increase the number of users beyond a set threshold,
   host user to use a resource 115a at the same time, but not         the access control platform 103 may prevent the user from
   allowing close friends to use the resource at the same time 40 accessing the resource 115a. Where a higher-priority user is
   distant family members are using the resource 115a. In one attempting to access a resource as compared to one or more
   embodiment, the access control platform 103 controls the lower-priority users that are currently accessing the resource
   revocation and prevention of the access based on all levels of 115a, the access control platform 103 may revoke the access
   granularity of the hierarchy. Further, in one embodiment, the of one or more of the lower-priority users from the resource
   access control platform 103 provides the option to higher- 45 115a to allow the higher-priority user to access the resource
   priority users and devices to allow lower-priority users and 115a. Further, where the bandwidth decreases to below a
   devices to concurrently access the one or more resources. By threshold level, the access control platform 103 may revoke
   way of example, the access control platform 103 may notify the access of a lower-priority user as compared to other,
   a higher-priority user that a lower-priority user is attempting higher-priority users that are currently using the resource
   to access resource 115a currently being accessed by the 50 115a, to increase the bandwidth to above the threshold level.
   higher-priority user. Thus, for example, if the higher-priority       Accordingly, by controlling the revocation and prevention
   user is using the resource 115a for non-private tasks, the of access to resources 115 based on the characteristics of the
   higher-priority user may allow the lower-priority user to con one or more resources 115 according to the priority hierarchy
   currently use the resource 115a.                                   of one or more user and/or one or more devices, host users that
      In one embodiment, the access control platform 103 may 55 own or maintain one or more resources 115 may open the
   allow certain combinations of Social networking groups to resources 115 to a wider range of users while maintaining a
   concurrently access a resource despite the groups having level of quality of service for more trusted users, or users that
   different priorities. For example, the access control platform have a closer Social relationship to the host user.
   103 may allow the host user and family members of the host            FIG. 5 is a flowchart of a process for eliminating access
   user to concurrently access a resource 115a. Further, the 60 rights to one or more resources, according to one embodi
   access control platform 103 may allow family and friends of ment. In one embodiment, the access control platform 103
   the host user to concurrently access a resource 115a. Addi performs the process 500 and is implemented in, for instance,
   tionally, the access control platform 103 may allow friends a chip set including a processor and a memory as shown in
   and friends of friends of the host user to concurrently access FIG.8. In step 501, the access control platform 103 causes a
   a resource 115a. However, once a member of a social net- 65 monitoring of a number of access times at least one other user,
   working group attempts to access a resource that would com at least one other device, or a combination thereof accesses
   bine two combinations of Social networking groups, the one or more resources 115. For example, each time a user
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   attempts to access a resource 115a, the access control client           application 111a does not communicate with the access con
   application 111a associated with the device of the user should          trol platform 103 to control the access to one or more
   interface with the access control platform 103 to determine             resources. In one embodiment, the access control platform
   whether the user has permission to access the resource 115a.            103 logs identification information associated with the device
   If the access control client application 111a does not interface        (e.g., MAC address) to ensure that the device is not provided
   with the access control platform 103, this may indicate that            the security credentials again in the future, as illustrated by
   the user of the device may have corrupted the security proce            the indicator 607.
   dures implemented using the access control platform 103 and               FIG. 6D illustrates the user interface 601d associated with
   may be able to improperly access the resource 115a.                     a UE 101 used by a host user to register and configure a
       In step 503, the access control platform 103 causes an         10   resource 115a (e.g., a wireless access point) with the access
   elimination of the access rights to the one or more resources           control platform 103. The user interface 601d may include
   for one or more users and/or one or more devices based, at              one or more parameters 609 used to identify the resource
   least in part, on the number of access times determined in step         (e.g., SSID: Grandma's WiFi), used for security credentials
   501. Thus, if the number of access times the access control             (e.g., Password: 1121KGO 109AC), and one or more social
   client application 111a interfaces with the access control         15   networking groups that are used to create the priority hierar
   platform 103 is less than the number of times the device                chy. In one embodiment, as illustrated, the order in which the
   associated with the access control client application 111a              Social networking groups are listed provides the priority rank
   interfaces with a resource 115a, the access control platform            ing. In one embodiment, the host user may assign the priority
   103 eliminates the security credentials to the resource so the          hierarchy based on, for example, one or more rating systems
   device can no longer access the resource 115a. The access               (e.g., numbers, starts, etc.). The user interface 6D associated
   control platform 103 removes the ability of the device to               with the configuration of the resource 115a may also include
   access the resource to prevent a malicious user from reducing           information associated with how many users and/or devices
   the security and/or the quality of service of the resource 115a.        are currently connected to the resource 115a (e.g., the num
   In one embodiment, the access control platform 103 logs                 bers next to the Social networking groups), or any other addi
   identification information (e.g., IP address, MAC address,         25   tional information associated with the users and/or devices
   etc.) of the device associated with the unauthorized access to          currently associated with the resource 115a.
   prevent the device from reacquiring the security credentials in            The processes described herein for controlling access to
   the future. Thus, the access control platform 103 offers the            resources according to social connections and/or characteris
   additional security of permanently removing users and/or                tics of the resources may be advantageously implemented via
   users that are associated with unauthorized access to one or       30   software, hardware, firmware or a combination of software
   more resources 115.                                                     and/or firmware and/or hardware. For example, the processes
     FIGS.6A-6D are diagrams ofuser interfaces utilized in the             described herein, may be advantageously implemented via
   processes of FIGS. 3-5, according to various embodiments.               processor(s), Digital Signal Processing (DSP) chip, an Appli
   FIG. 6A illustrates a user interface 601a associated with a             cation Specific Integrated Circuit (ASIC), Field Program
   social networking service 109a that includes one or more           35   mable Gate Arrays (FPGAs), etc. Such exemplary hardware
   contacts 603 that may be processed by the access control                for performing the described functions is detailed below.
   platform 103 to determine one or more users and/or devices                 FIG. 7 illustrates a computer system 700 upon which an
   associated with a host user that may access a resource owned            embodiment of the invention may be implemented. Although
   or maintained by the host user. By way of example, the                  computer system 700 is depicted with respect to a particular
   contacts 603 may be contacts of the host user within the social    40   device or equipment, it is contemplated that other devices or
   networking service 109a. Further, as illustrated with respect           equipment (e.g., network elements, servers, etc.) within FIG.
   to the contacts 603, each one of the contacts is identified as          7 can deploy the illustrated hardware and components of
   belonging to a social networking group, Such as Friend,                 system 700. Computer system 700 is programmed (e.g., via
   Acquaintance, and Family. Thus, in one embodiment, the                  computer program code or instructions) to control access to
   contacts 603 identified by a social networking service 109a        45   resources according to social connections and/or characteris
   may also include information that the access control platform           tics of the resources as described herein and includes a com
   103 may use to determine the social distances between the               munication mechanism such as a bus 710 for passing infor
   contacts 603 and the host user that are used to determine the           mation between otherinternal and external components of the
   priority hierarchy of the users when accessing one or more              computer system 700. Information (also called data) is rep
   resources 115.                                                     50   resented as a physical expression of a measurable phenom
     FIG. 6B illustrates a user interface 601b associated with a           enon, typically electric Voltages, but including, in other
   UE 101 that had its access to a resource 115a revoked based             embodiments, such phenomena as magnetic, electromag
   on a higher-priority user accessing the same resource 115a.             netic, pressure, chemical, biological, molecular, atomic, Sub
   By way of example, the user interface 601b may include an               atomic and quantum interactions. For example, north and
   indicator 605 that indicates the resource 115a associated with     55   South magnetic fields, or a Zero and non-Zero electric Voltage,
   the access that was revoked (e.g., Grandma's WiFi) and the              represent two states (0, 1) of a binary digit (bit). Other phe
   reason the access was revoked (e.g., a priority user). In one           nomena can represent digits of a higher base. A Superposition
   embodiment, the indicator 605 may also indicate, or in the              of multiple simultaneous quantum states before measurement
   alternative indicate, that access was revoked based on one or           represents a quantum bit (qubit). A sequence of one or more
   more characteristics of the resource 115a.                         60   digits constitutes digital data that is used to represent a num
     FIG. 6C illustrates the user interface 601c associated with           ber or code for a character. In some embodiments, informa
   a UE 101 that had it access rights to a resource eliminated             tion called analog data is represented by a near continuum of
   based on use violations associated with the security creden             measurable values within a particular range. Computer sys
   tials as illustrated based on the indicator 607. For example,           tem 700, or a portion thereof, constitutes a means for per
   the user associated with the UE 101 may have changed the           65   forming one or more steps of controlling access to resources
   process of the access control client application 111a commu             according to Social connections and/or characteristics of the
   nicating with the access control platform 103 such that the               SOUCS.
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     A bus 710 includes one or more parallel conductors of                  organic LED (OLED) display, a plasma screen, or a printer
   information so that information is transferred quickly among             for presenting text or images, and a pointing device 716. Such
   devices coupled to the bus 710. One or more processors 702               as a mouse, a trackball, cursor direction keys, or a motion
   for processing information are coupled with the bus 710.                 sensor, for controlling a position of a small cursor image
     A processor (or multiple processors) 702 performs a set of        5    presented on the display 714 and issuing commands associ
   operations on information as specified by computer program               ated with graphical elements presented on the display 714. In
   code related to controlling access to resources according to             Some embodiments, for example, in embodiments in which
   Social connections and/or characteristics of the resources.              the computer system 700 performs all functions automati
   The computer program code is a set of instructions or state              cally without human input, one or more of external input
   ments providing instructions for the operation of the proces        10   device 712, display device 714 and pointing device 716 is
   sor and/or the computer system to perform specified func                 omitted.
   tions. The code, for example, may be written in a computer                  In the illustrated embodiment, special purpose hardware,
   programming language that is compiled into a native instruc              such as an application specific integrated circuit (ASIC) 720,
   tion set of the processor. The code may also be written directly         is coupled to bus 710. The special purpose hardware is con
   using the native instruction set (e.g., machine language). The      15   figured to perform operations not performed by processor 702
   set of operations include bringing information in from the bus           quickly enough for special purposes. Examples of ASICs
   710 and placing information on the bus 710. The set of opera             include graphics accelerator cards for generating images for
   tions also typically include comparing two or more units of              display 714, cryptographic boards for encrypting and
   information, shifting positions of units of information, and             decrypting messages sent over a network, speech recognition,
   combining two or more units of information, such as by                   and interfaces to special external devices, such as robotic
   addition or multiplication or logical operations like OR,                arms and medical scanning equipment that repeatedly per
   exclusive OR (XOR), and AND. Each operation of the set of                form some complex sequence of operations that are more
   operations that can be performed by the processor is repre               efficiently implemented in hardware.
   sented to the processor by information called instructions,                 Computer system 700 also includes one or more instances
   Such as an operation code of one or more digits. A sequence of      25   of a communications interface 770 coupled to bus 710. Com
   operations to be executed by the processor 702, such as a                munication interface 770 provides a one-way or two-way
   sequence of operation codes, constitute processor instruc                communication coupling to a variety of external devices that
   tions, also called computer system instructions or, simply,              operate with their own processors. Such as printers, scanners
   computer instructions. Processors may be implemented as                  and external disks. In general the coupling is with a network
   mechanical, electrical, magnetic, optical, chemical or quan         30   link 778 that is connected to a local network 780 to which a
   tum components, among others, alone or in combination.                   variety of external devices with their own processors are
      Computer system 700 also includes a memory 704 coupled                connected. For example, communication interface 770 may
   to bus 710. The memory 704, such as a random access                      be a parallel port or a serial port or a universal serial bus
   memory (RAM) or any other dynamic storage device, stores                 (USB) port on a personal computer. In some embodiments,
   information including processor instructions for controlling        35   communications interface 770 is an integrated services digi
   access to resources according to Social connections and/or               tal network (ISDN) card or a digital subscriber line (DSL)
   characteristics of the resources. Dynamic memory allows                  card or a telephone modem that provides an information
   information stored therein to be changed by the computer                 communication connection to a corresponding type of tele
   system 700. RAM allows a unit of information stored at a                 phone line. In some embodiments, a communication interface
   location called a memory address to be stored and retrieved         40   770 is a cable modem that converts signals on bus 710 into
   independently of information at neighboring addresses. The               signals for a communication connection over a coaxial cable
   memory 704 is also used by the processor 702 to store tem                or into optical signals for a communication connection over a
   porary values during execution of processor instructions. The            fiber optic cable. As another example, communications inter
   computer system 700 also includes a read only memory                     face 770 may be a local area network (LAN) card to provide
   (ROM) 706 or any other static storage device coupled to the         45   a data communication connection to a compatible LAN. Such
   bus 710 for storing static information, including instructions,          as Ethernet. Wireless links may also be implemented. For
   that is not changed by the computer system 700. Some                     wireless links, the communications interface 770 sends or
   memory is composed of Volatile storage that loses the infor              receives or both sends and receives electrical, acoustic or
   mation stored thereon when power is lost. Also coupled to bus            electromagnetic signals, including infrared and optical sig
   710 is a non-volatile (persistent) storage device 708, such as      50   nals, that carry information streams. Such as digital data. For
   a magnetic disk, optical disk or flash card, for storing infor           example, in wireless handheld devices, such as mobile tele
   mation, including instructions, that persists even when the              phones like cell phones, the communications interface 770
   computer system 700 is turned off or otherwise loses power.              includes a radio band electromagnetic transmitter and
      Information, including instructions for controlling access            receiver called a radio transceiver. In certain embodiments,
   to resources according to Social connections and/or charac          55   the communications interface 770 enables connection to the
   teristics of the resources, is provided to the bus 710 for use by        communication network 105 for providing remote manage
   the processor from an external input device 712. Such as a               ment controlling access to resources according to Social con
   keyboard containing alphanumeric keys operated by a human                nections and/or characteristics of the resources at the UE 101.
   user, a microphone, an Infrared (IR) remote control, a joy                  The term “computer-readable medium' as used herein
   Stick, a game pad, a stylus pen, a touch screen, or a sensor. A     60   refers to any medium that participates in providing informa
   sensor detects conditions in its vicinity and transforms those           tion to processor 702, including instructions for execution.
   detections into physical expression compatible with the mea              Such a medium may take many forms, including, but not
   Surable phenomenon used to represent information in com                  limited to computer-readable storage medium (e.g., non
   puter system 700. Other external devices coupled to bus 710,             Volatile media, Volatile media), and transmission media. Non
   used primarily for interacting with humans, include a display       65   transitory media, Such as non-volatile media, include, for
   device 714, such as a cathode ray tube (CRT), a liquid crystal           example, optical or magnetic disks, such as storage device
   display (LCD), a light emitting diode (LED) display, an                  708. Volatile media include, for example, dynamic memory
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   704. Transmission media include, for example, twisted pair             message sent from computer 700, through Internet 790, ISP
   cables, coaxial cables, copper wire, fiber optic cables, and           equipment 784, local network 780 and communications inter
   carrier waves that travel through space without wires or               face 770. The received code may be executed by processor
   cables, such as acoustic waves and electromagnetic waves,              702 as it is received, or may be stored in memory 704 or in
   including radio, optical and infrared waves. Signals include           storage device 708 or any other non-volatile storage for later
   man-made transient variations in amplitude, frequency,                 execution, or both. In this manner, computer system 700 may
   phase, polarization or other physical properties transmitted           obtain application program code in the form of signals on a
   through the transmission media. Common forms of com                    carrier wave.
   puter-readable media include, for example, a floppy disk, a               Various forms of computer readable media may be
   flexible disk, hard disk, magnetic tape, any other magnetic       10   involved in carrying one or more sequence of instructions or
   medium, a CD-ROM, CDRW, DVD, any other optical                         data or both to processor 702 for execution. For example,
   medium, punch cards, paper tape, optical mark sheets, any              instructions and data may initially be carried on a magnetic
   other physical medium with patterns of holes or other opti             disk of a remote computer such as host 782. The remote
   cally recognizable indicia, a RAM, a PROM, an EPROM, a                 computer loads the instructions and data into its dynamic
   FLASH-EPROM, an EEPROM, a flash memory, any other                 15   memory and sends the instructions and data over a telephone
   memory chip or cartridge, a carrier wave, or any other                 line using a modem. A modem local to the computer system
   medium from which a computer can read. The term com                    700 receives the instructions and data on a telephone line and
   puter-readable storage medium is used herein to refer to any           uses an infra-red transmitter to convert the instructions and
   computer-readable medium except transmission media.                    data to a signal on an infra-red carrier wave serving as the
      Logic encoded in one or more tangible media includes one            network link 778. An infrared detector serving as communi
   or both of processor instructions on a computer-readable               cations interface 770 receives the instructions and data car
   storage media and special purpose hardware, Such as ASIC               ried in the infrared signal and places information representing
   720.                                                                   the instructions and data onto bus 710. Bus 710 carries the
      Network link 778 typically provides information commu               information to memory 704 from which processor 702
   nication using transmission media through one or more net         25   retrieves and executes the instructions using some of the data
   works to other devices that use or process the information. For        sent with the instructions. The instructions and data received
   example, network link 778 may provide a connection through             in memory 704 may optionally be stored on storage device
   local network 780 to a host computer 782 or to equipment 784           708, either before or after execution by the processor 702.
   operated by an Internet Service Provider (ISP). ISP equip                 FIG. 8 illustrates a chip set or chip 800 upon which an
   ment 784 in turn provides data communication services             30   embodiment of the invention may be implemented. Chip set
   through the public, world-wide packet-switching communi                800 is programmed to control access to resources according
   cation network of networks now commonly referred to as the             to social connections and/or characteristics of the resources
   Internet 790.                                                          as described herein and includes, for instance, the processor
      A computer called a server host 792 connected to the                and memory components described with respect to FIG. 7
   Internet hosts a process that provides a service in response to   35   incorporated in one or more physical packages (e.g., chips).
   information received over the Internet. For example, server            By way of example, a physical package includes an arrange
   host 792 hosts a process that provides information represent           ment of one or more materials, components, and/or wires on
   ing video data for presentation at display 714. It is contem           a structural assembly (e.g., a baseboard) to provide one or
   plated that the components of system 700 can be deployed in            more characteristics Such as physical strength, conservation
   various configurations within other computer systems, e.g.,       40   of size, and/or limitation of electrical interaction. It is con
   host 782 and server 792.                                               templated that in certain embodiments the chip set 800 can be
     At least some embodiments of the invention are related to            implemented in a single chip. It is further contemplated that in
   the use of computer system 700 for implementing some or all            certain embodiments the chip set or chip 800 can be imple
   of the techniques described herein. According to one embodi            mented as a single "system on a chip. It is further contem
   ment of the invention, those techniques are performed by          45   plated that in certain embodiments a separate ASIC would not
   computer system 700 in response to processor 702 executing             be used, for example, and that all relevant functions as dis
   one or more sequences of one or more processor instructions            closed herein would be performed by a processor or proces
   contained in memory 704. Such instructions, also called com            sors. Chip set or chip 800, or a portion thereof, constitutes a
   puter instructions, Software and program code, may be read             means for performing one or more steps of providing user
   into memory 704 from another computer-readable medium             50   interface navigation information associated with the avail
   such as storage device 708 or network link 778. Execution of           ability of functions. Chip set or chip 800, or a portion thereof,
   the sequences of instructions contained in memory 704                  constitutes a means for performing one or more steps of
   causes processor 702 to perform one or more of the method              controlling access to resources according to social connec
   steps described herein. In alternative embodiments, hard               tions and/or characteristics of the resources.
   ware, such as ASIC 720, may be used in place of or in             55      In one embodiment, the chip set or chip 800 includes a
   combination with software to implement the invention. Thus,            communication mechanism such as a bus 801 for passing
   embodiments of the invention are not limited to any specific           information among the components of the chip set 800. A
   combination of hardware and software, unless otherwise                 processor 803 has connectivity to the bus 801 to execute
   explicitly stated herein.                                              instructions and process information stored in, for example, a
      The signals transmitted over network link 778 and other        60   memory 805. The processor 803 may include one or more
   networks through communications interface 770, carry infor             processing cores with each core configured to perform inde
   mation to and from computer system 700. Computer system                pendently. A multi-core processor enables multiprocessing
   700 can send and receive information, including program                within a single physical package. Examples of a multi-core
   code, through the networks 780, 790 among others, through              processor include two, four, eight, or greater numbers of
   network link 778 and communications interface 770. In an          65   processing cores. Alternatively or in addition, the processor
   example using the Internet 790, a server host 792 transmits            803 may include one or more microprocessors configured in
   program code for a particular application, requested by a              tandem via the bus 801 to enable independent execution of
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   instructions, pipelining, and multithreading. The processor             resources. The display 907 includes display circuitry config
   803 may also be accompanied with one or more specialized                ured to display at least a portion of a user interface of the
   components to perform certain processing functions and                  mobile terminal (e.g., mobile telephone). Additionally, the
   tasks such as one or more digital signal processors (DSP) 807,          display 907 and display circuitry are configured to facilitate
   or one or more application-specific integrated circuits (ASIC)     5    user control of at least some functions of the mobile terminal.
   809. A DSP807 typically is configured to process real-world             An audio function circuitry 909 includes a microphone 911
   signals (e.g., Sound) in real time independently of the proces          and microphone amplifier that amplifies the speech signal
   sor 803. Similarly, an ASIC 809 can be configured to per                output from the microphone 911. The amplified speech signal
   formed specialized functions not easily performed by a more             output from the microphone 911 is fed to a coder/decoder
   general purpose processor. Other specialized components to         10   (CODEC) 913.
   aid in performing the inventive functions described herein                 A radio section 915 amplifies power and converts fre
   may include one or more field programmable gate arrays                  quency in order to communicate with a base station, which is
   (FPGA), one or more controllers, or one or more other spe               included in a mobile communication system, via antenna 917.
   cial-purpose computer chips.                                            The power amplifier (PA)919 and the transmitter/modulation
      In one embodiment, the chip set or chip 800 includes            15   circuitry are operationally responsive to the MCU903, with
   merely one or more processors and some Software and/or                  an output from the PA 919 coupled to the duplexer 921 or
   firmware supporting and/or relating to and/or for the one or            circulator orantenna switch, as known in the art. The PA 919
   more processors.                                                        also couples to a battery interface and power control unit 920.
      The processor 803 and accompanying components have                      In use, a user of mobile terminal 901 speaks into the micro
   connectivity to the memory 805 via the bus 801. The memory              phone 911 and his or her voice along with any detected
   805 includes both dynamic memory (e.g., RAM, magnetic                   background noise is converted into an analog Voltage. The
   disk, writable optical disk, etc.) and static memory (e.g.,             analog Voltage is then converted into a digital signal through
   ROM, CD-ROM, etc.) for storing executable instructions that             the Analog to Digital Converter (ADC) 923. The control unit
   when executed perform the inventive steps described herein              903 routes the digital signal into the DSP 905 for processing
   to control access to resources according to Social connections     25   therein, such as speech encoding, channel encoding, encrypt
   and/or characteristics of the resources. The memory 805 also            ing, and interleaving. In one embodiment, the processed
   stores the data associated with or generated by the execution           Voice signals are encoded, by units not separately shown,
   of the inventive steps.                                                 using a cellular transmission protocol Such as enhanced data
      FIG. 9 is a diagram of exemplary components of a mobile              rates for global evolution (EDGE), general packet radio ser
   terminal (e.g., handset) for communications, which is capable      30   vice (GPRS), global system for mobile communications
   ofoperating in the system of FIG.1, according to one embodi             (GSM), Internet protocol multimedia subsystem (IMS), uni
   ment. In some embodiments, mobile terminal 901, or a por                versal mobile telecommunications system (UMTS), etc., as
   tion thereof, constitutes a means for performing one or more            well as any other Suitable wireless medium, e.g., microwave
   steps of controlling access to resources according to social            access (WiMAX), Long Term Evolution (LTE) networks,
   connections and/or characteristics of the resources. Gener         35   code division multiple access (CDMA), wideband code divi
   ally, a radio receiver is often defined in terms offront-end and        sion multiple access (WCDMA), wireless fidelity (WiFi),
   back-end characteristics. The front-end of the receiver                 satellite, and the like, or any combination thereof.
   encompasses all of the Radio Frequency (RF) circuitry                      The encoded signals are then routed to an equalizer 925 for
   whereas the back-end encompasses all of the base-band pro               compensation of any frequency-dependent impairments that
   cessing circuitry. As used in this application, the term “cir      40   occur during transmission though the air Such as phase and
   cuitry” refers to both: (1) hardware-only implementations               amplitude distortion. After equalizing the bit stream, the
   (such as implementations in only analog and/or digital cir              modulator 927 combines the signal with a RF signal gener
   cuitry), and (2) to combinations of circuitry and Software              ated in the RF interface 929. The modulator 927 generates a
   (and/or firmware) (Such as, if applicable to the particular             sine wave by way of frequency or phase modulation. In order
   context, to a combination of processor(s), including digital       45   to prepare the signal for transmission, an up-converter 931
   signal processor(s), software, and memory(ies) that work                combines the sine wave output from the modulator 927 with
   together to cause an apparatus, such as a mobile phone or               another sine wave generated by a synthesizer 933 to achieve
   server, to perform various functions). This definition of “cir          the desired frequency of transmission. The signal is then sent
   cuitry applies to all uses of this term in this application,            through a PA 919 to increase the signal to an appropriate
   including in any claims. As a further example, as used in this     50   power level. In practical systems, the PA919 acts as a variable
   application and if applicable to the particular context, the            gain amplifier whose gain is controlled by the DSP 905 from
   term “circuitry would also cover an implementation of                   information received from a network base station. The signal
   merely a processor (or multiple processors) and its (or their)          is then filtered within the duplexer 921 and optionally sent to
   accompanying software/or firmware. The term “circuitry’                 an antenna coupler 935 to match impedances to provide maxi
   would also cover if applicable to the particular context, for      55   mum power transfer. Finally, the signal is transmitted via
   example, a baseband integrated circuit or applications pro              antenna 917 to a local base station. An automatic gain control
   cessor integrated circuit in a mobile phone or a similar inte           (AGC) can be supplied to control the gain of the final stages
   grated circuit in a cellular network device or other network            of the receiver. The signals may be forwarded from there to a
   devices.                                                                remote telephone which may be another cellular telephone,
     Pertinent internal components of the telephone include a         60   any other mobile phone or a land-line connected to a Public
   Main Control Unit (MCU) 903, a Digital Signal Processor                 Switched Telephone Network (PSTN), or other telephony
   (DSP) 905, and a receiver/transmitter unit including a micro            networks.
   phone gain control unit and a speaker gain control unit. A                 Voice signals transmitted to the mobile terminal 901 are
   main display unit 907 provides a display to the user in support         received via antenna 917 and immediately amplified by a low
   of various applications and mobile terminal functions that         65   noise amplifier (LNA)937. A down-converter 939 lowers the
   perform or Support the steps of controlling access to resources         carrier frequency while the demodulator 941 strips away the
   according to Social connections and/or characteristics of the           RF leaving only a digital bit stream. The signal then goes
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   through the equalizer 925 and is processed by the DSP905. A                a controlling of access to the one or more resources for one
   Digital to Analog Converter (DAC) 943 converts the signal                     or more other users, one or more other devices associ
   and the resulting output is transmitted to the user through the               ated with the one or more other users, or a combination
   speaker 945, all under control of a Main Control Unit (MCU)                   thereof based, at least in part, on (a) membership in the
   903 which can be implemented as a Central Processing Unit                     one or more social networking groups, and (b) one or
   (CPU).                                                                        more characteristics associated with the one or more
      The MCU 903 receives various signals including input                       resources,
   signals from the keyboard 947. The keyboard 947 and/or the                 wherein the one or more resources include one or more
   MCU903 in combination with other user input components                        wireless access points, and the one or more characteris
   (e.g., the microphone 911) comprise a user interface circuitry      10
                                                                                 tics include a number of users accessing the one or more
   for managing user input. The MCU903 runs a user interface                     wireless access points, a traffic load associated with the
   software to facilitate user control of at least some functions of
   the mobile terminal 901 to control access to resources accord                 one or more wireless access points, or a combination
                                                                                 thereof.
   ing to social connections and/or characteristics of the
   resources. The MCU 903 also delivers a display command              15      2. A method of claim 1, wherein the (1) data and/or (2)
   and a switch command to the display 907 and to the speech                information and/or (3) at least one signal are further based, at
   output switching controller, respectively. Further, the MCU              least in part, on the following:
   903 exchanges information with the DSP 905 and can access                   a priority hierarchy associated with the at least one user, the
   an optionally incorporated SIM card 949 and a memory 951.                      at least one device, the one or more social networking
   In addition, the MCU903 executes various control functions                     groups, or a combination thereof, and
   required of the terminal. The DSP 905 may, depending upon                   a controlling of the access to the one or more resources for
   the implementation, performany of a variety of conventional                   the one or more other users, the one or more other
   digital processing functions on the Voice signals. Addition                    devices, or a combination thereof based, at least in part,
   ally, DSP 905 determines the background noise level of the                     on the priority hierarchy.
   local environment from the signals detected by microphone           25      3. A method of claim 2, wherein the (1) data and/or (2)
   911 and sets the gain of microphone 911 to a level selected to           information and/or (3) at least one signal are further based, at
   compensate for the natural tendency of the user of the mobile            least in part, on the following:
   terminal 901.                                                               a revocation, a prevention, or a combination thereof of the
     The CODEC913 includes the ADC 923 and DAC943. The                           access to the one or more resources for the one or more
   memory 951 stores various data including call incoming tone         30
                                                                                 other users, the one or more other devices, or a combi
   data and is capable of storing other data including music data                nation thereof based, at least in part, on the priority
   received via, e.g., the global Internet. The software module                  hierarchy.
   could reside in RAM memory, flash memory, registers, or any                4. A method of claim 3, wherein access of one or more
   other form of writable storage medium known in the art. The              lower-priority other users, one or more lower-priority other
   memory device 951 may be, but not limited to, a single              35
   memory, CD, DVD, ROM, RAM, EEPROM, optical storage,                      devices, or a combination thereof to the one or more resources
   magnetic disk storage, flash memory storage, or any other                is revoked, prevented, or a combination thereof based, at least
   non-volatile storage medium capable of storing digital data.             in part, on access by one or more higher-priority users, one or
      An optionally incorporated SIM card 949 carries, for                  more higher-priority devices, or a combination thereof to the
   instance, important information, such as the cellular phone         40 Ole O.     O.     SOUCS.
   number, the carrier Supplying service, Subscription details,                5. A method of claim 2, wherein the (1) data and/or (2)
   and security information. The SIM card 949 serves primarily              information and/or (3) at least one signal are further based, at
   to identify the mobile terminal 901 on a radio network. The              least in part, on the following:
   card 949 also contains a memory for storing a personal tele                 a prevention, a revocation, or a combination thereof of
   phone number registry, text messages, and user specific             45        access to the one or more resources of the one or more
   mobile terminal settings.                                                     other users, the one or more other devices, or a combi
     While the invention has been described in connection with                   nation thereof based, at least in part, on the priority
   a number of embodiments and implementations, the inven                        hierarchy.
   tion is not so limited but covers various obvious modifications            6. A method of claim 5, wherein access to the one or more
   and equivalent arrangements, which fall within the purview          50
                                                                            resources is revoked for one or more lower-priority users, one
   of the appended claims. Although features of the invention are           or more lower-priority devices, or a combination thereofprior
   expressed in certain combinations among the claims, it is                to access for one or more higher-priority users, one or more
   contemplated that these features can be arranged in any com              higher-priority devices, or a combination thereof.
   bination and order.
                                                                       55      7. A method of claim 1, wherein the (1) data and/or (2)
     What is claimed is:                                                    information and/or (3) at least one signal are further based, at
      1. A method comprising facilitating a processing of and/or            least in part, on the following:
   processing (1) data and/or (2) information and/or (3) at least              a monitoring of a number of access times at least one other
   one signal, the (1) data and/or (2) information and/or (3) at                 user, at least one other device, or a combination thereof
   least one signal based, at least in part, on the following:         60        accesses the one or more resources; and
     one or more resources associated with at least one user, at              an elimination of access rights to the one or more resources
       least one device associated with the at least one user, or                for the at least one other user, the at least one other
       a combination thereof;                                                    device, or a combination thereof based, at least in part,
     a processing of Social networking information associated                    on the number of access times.
        with the at least one user, the at least one device, or a      65     8. A method of claim 1, wherein the one or more social
        combination thereof to determine one or more social                 networking groups include at least one of a family group, a
        networking groups; and                                              friends group, a friends of friends group, and an others group.
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     9. A method of claim 1, wherein the controlling of access to             12. An apparatus of claim 11, wherein the apparatus is
   the one or more resources is independent from controlling of             further caused to:
   configuration settings associated with the one or more                     cause, at least in part, a revocation, a prevention, or a
   eSOUCeS.                                                                      combination thereof of the access to the one or more
     10. An apparatus comprising:                                                resources for the one or more other users, the one or
     at least one processor; and                                                 more other devices, or a combination thereof based, at
     at least one memory including computer program code for                    least in part, on the priority hierarchy.
                                                                              13. An apparatus of claim 12, wherein access of one or
        one or more programs,                                               more lower-priority other users, one or more lower-priority
     the at least one memory and the computer program code             10   other devices, or a combination thereof to the one or more
       configured to, with the at least one processor, cause the            resources is revoked, prevented, or a combination thereof
       apparatus to perform at least the following,                         based, at least in part, on access by one or more higher
        determine one or more resources associated with at least            priority users, one or more higher-priority devices, or a com
          one user, at least one device associated with the at              bination thereof to the one or more resources.
          least one user, or a combination thereof;                    15
                                                                              14. An apparatus of claim 10, wherein the apparatus is
                                                                            further caused to:
        process and/or facilitate a processing of social network              cause, at least in part, a prevention, a revocation, or a
          ing information associated with the at least one user,                 combination thereof of access to the one or more
          the at least one device, or a combination thereof to
          determine one or more social networking groups; and                   resources of the one or more other users, the one or more
        cause, at least in part, a controlling of access to the one             other devices, or a combination thereof based, at least in
          or more resources for one or more other users, one or                 part, on the priority hierarchy.
          more other devices associated with the one or more                  15. An apparatus of claim 14, wherein access to the one or
          other users, or a combination thereof based, at least in          more resources is revoked for one or more lower-priority
          part, on (a) membership in the one or more social                 users, one or more lower-priority devices, or a combination
          networking groups, and (b) one or more characteris           25
                                                                            thereof prior to access for one or more higher-priority users,
          tics associated with the one or more resources,                   one or more higher-priority devices, or a combination thereof.
        wherein the one or more resources include one or more                  16. An apparatus of claim 10, wherein the apparatus is
                                                                            further caused to:
          wireless access points, and the one or more character               cause, at least in part, a monitoring of a number of access
          istics include a number of users accessing the one or                 times at least one other user, at least one other device, or
          more wireless access points, a traffic load associated       30        a combination thereof accesses the one or more
          with the one or more wireless access points, or a                      resources; and
          combination thereof.
     11. An apparatus of claim 10, wherein the apparatus is                   cause, at least in part, an elimination of access rights to the
   further caused to:                                                           one or more resources for the at least one other user, the
     determine a priority hierarchy associated with the at least       35
                                                                                at least one other device, or a combination thereof based,
        one user, the at least one device, the one or more social               at least in part, on the number of access times.
       networking groups, or a combination thereof; and                       17. An apparatus of claim 10, wherein the one or more
     cause, at least in part, a controlling of the access to the one        Social networking groups include at least one of a family
        or more resources for the one or more other users, the              group, a friends group, a friends of friends group, and an
        one or more other devices, or a combination thereof                 others group.
        based, at least in part, on the priority hierarchy.
